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                      Exhibit B
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                  IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE DISTRICT OF DELAWARE
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Inre:                                              Chapter 11
                                                   Case No. 08-13141 (KJC)
TRIBUNE COMPANY, et aI.,                           (Jointly Administered)

                         Debtors.                  Re: Docket Nos. 4366 and 4928


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        INITIAL DISCLOSURE OF IDENTITY OF EXPERT WITNESS AND
           SUMMARY OF TOPICS BY JPMORGkNCHASE BANK, N.A.
                    AND JP MORGAN SECURITIES, INC.

        JPMorgan Chase Bank, N.A., as Agent for the Debtors' prepetition senior lenders

and a holder of senior claims, and JPMorgan Securities, Inc. (collectively "JPMorgan")

hereby submit this Initial Disclosure pursuant to the Court's Order Amending Certain

Deadlines in Discovery and Scheduling Order, dated July 1,2010 [Docket No. 4928] (the

"Discovery Order").

        As set forth in the Debtors' Cross-Motion for Entry of Preliminary Pre-Trial

Scheduling Order for the Plan Confirmation Hearing [Docket No. 4943] (the "Scheduling

Motion"), the Settlement Supporters' joinder thereto [Docket No. 4949], and the

Statement of the Official Committee of Unsecured Creditors (the "Committee") in

Support of the Scheduling Motion [Docket No. 4989], JPMorgan, the Debtors, the

Committee, Law Debenture Trust Company of New York, Centerbridge Credit Advisors

LLC, and Angelo Gordon & Co. LP, believe that consideration of the Global Settlement

at confirmation should revolve around the factors set forth in Myers v. Martin (In re

Martin), 91 F.3d 389, 393 (3d Cir. 1996), In re Texaco Inc., 84 B.R. 893,902 (Bankr.
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S.D.N.Y. 1988) and numerous other cases in this district, and that a full trial on the merits

of the settled claims is neither necessary nor appropriate. Likewise, the preparation of

expert reports and the presentation of experts on the merits of the settled claims, such as

the solvency or insolvency of Tribune at the time of the recapitalization and merger

transactions, is unnecessary and would constitute a wasteful expenditure of resources.

         On July 14,2010, the Court heard argument on the Scheduling Motion and

continued the motion until August 9,2010. Pending the Court's resolution of the

Scheduling Motion at the August 9,2010 status conference, JPMorgan hereby designates

Professor Daniel R. Fischel to present affirmative and/or rebuttal expert testimony as to

Tribune's solvency at the time of the recapitalization and merger transactions, related

valuation issues and other matters related to the business of Tribune. JPMorgan reserves

its right to withdraw this designation if the Scheduling Motion is resolved in favor of the

Debtors and/or should the Court otherwise determine that expert testimony from the

various parties-in-interest on Tribune's solvency is inappropriate and/or unnecessary at

the confirmation hearing. JPMorgan further reserves its right to supplement and amend

this designation consistent with the Discovery Order, including, but not limited to, its

right to designate experts in response to the designation of experts by other parties-in-

interest. 1




         1 JPMorgan also reserves the right to designate any expert witness that has been designated by any
other party.


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Dated: July 15, 2010                    Respectfully submitted,
       Wilmington, Delaware


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